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                  UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                      SAN ANTONIO DIVISION


ROBERT RAMOS,                         *
an individual,                        *
                                      *
       PLAINTIFF,                     *
                                      *
v.                                    * Case No. 22-CV-0303
                                      *
BLUFF SPRINGS FOOD MART               *
INC.,                                 *
A Domestic Corporation,               *
                                      *
        DEFENDANT.


       ORDER ON MOTION TO PROCEED IN FORMA PAUPERIS


       Pursuant to the provision of 28 U.S.C. § 1915, permission is hereby granted

for the above-named plaintiff(s) to proceed in forma pauperis in this Court until

judgment is entered herein.



SIGNED on _____________________, 2022.




                               ___________________________________

                               By: ________________________________

                               Presiding Judge
                                                                          Page 1 of 1
